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            In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                          No. 17-416V
                               Originally Filed: October 17, 2017
                        Refiled in Redacted Form: November 17, 2017
                                        UNPUBLISHED


    B.L.,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                       Table Injury; Influenza (Flu) Vaccine;
                                                             Shoulder Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                  Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Adriana Ruth Teitel, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1
Dorsey, Chief Special Master:
       On March 23, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) following her November 19, 2015 influenza (“flu”) vaccination.
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.
       On October 13, 2017, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent “believes that petitioner’s medical course is consistent

1 When this decision was originally filed the undersigned advised her intent to post it on the United States
Court of Federal Claims' website, in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501
note (2012) (Federal Management and Promotion of Electronic Government Services). In accordance
with Vaccine Rule 18(b), petitioner filed a timely motion to redact certain information. This decision is
being reissued with petitioner’s name redacted to initials. Except for those changes and this footnote, no
other substantive changes have been made. This decision will be posted on the court’s website with no
further opportunity to move for redaction

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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with a shoulder injury related to vaccine administration (“SIRVA”) as defined on the
Vaccine Injury Table.” Id. at 5; see also 42 C.F.R. § 100.3(c)(10). Respondent further
agrees that petitioner suffered residual effects of her condition for more than six months
and that petitioner has satisfied all legal prerequisites to compensation under the
Vaccine Act. Id.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.


IT IS SO ORDERED.


                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master
